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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER; BRYAN AND                  :
CHRISY REHM; DEBORAH FENIMORE                :
AND JOEL LIEBY; STEVEN STOUGH                :
BETH EVELAND; CYNTHIA SNEATH                 : CIVIL ACTION NO. 04-CV-2688
JULIE SMITH; AND ARALENE                     :
(“BARRIE”) D. AND FREDERICK B.               :
CALLAHAN,                                    :
                    Plaintiffs               :
                                             :
                   v.                        :
                                             :
DOVER AREA SCHOOL DISTRICT;                  :
DOVER AREA SCHOOL DISTRICT                   : J. JOHN E. JONES III
BOARD OF SCHOOL DIRECTORS,                   :
                 Defendants                  :


                 PRAECIPE FOR ENTRY OF APPEARANCE

      Please enter the appearance of Stephen S. Russell, Esquire, on behalf of the

Defendants. According to the Memorandum of Retainer Agreement, the Thomas

More Law Center’s representation ceases as the litigation is now concluded. On

January 3, 2006, the Dover Area School District Board of School Directors passed

a motion to have the firm of Stock and Leader be appointed “point person” on the

fee petition in the above-referenced case.
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                                                     Respectfully submitted,

                                                     STOCK AND LEADER,

Date: February 7, 2006                        By: /s/ Stephen S. Russell
                                                  Stephen S. Russell, Esquire
                                                  Supreme Court I.D. No. 17102
                                                  Susquehanna Commerce Center East
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